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16                        UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
17

18   PATRICK CALHOUN, et al., on behalf of            Case No. 5:20-cv-5146-LHK-SVK
     themselves and all others similarly situated,
19

20          Plaintiffs,                               GOOGLE’S BRIEF RE: INCOGNITO
                                                      DISCOVERY
21          v.
22   GOOGLE LLC,                                      Referral: Hon. Susan van Keulen, USMJ
23
            Defendant.
24

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                                                                      Case No. 5:20-cv-5146-LHK-SVK
                                                         GOOGLE’S BRIEF RE: INCOGNITO DISCOVERY
         Case 5:20-cv-05146-LHK Document 421 Filed 12/21/21 Page 2 of 5




 1 December 21, 2021

 2 Submitted via ECF

 3 Magistrate Judge Susan van Keulen
   San Jose Courthouse
 4 Courtroom 6 - 4th Floor
   280 South 1st Street
 5 San Jose, CA 95113

 6                         Re: GOOGLE’S BRIEF RE: INCOGNITO DISCOVERY
                      Calhoun v. Google LLC, Case No. 5:20-cv-05146-LHK-SVK (N.D. Cal.)
 7

 8          The relief that Plaintiffs seek, confirmation from this Court that “Incognito is not within the
 9
     scope of this case,” is not supported by the record and should be denied. Plaintiffs initially presented
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     this dispute as a request for the production of documents concerning Incognito mode for Chrome –
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     but Plaintiffs did not represent that they had found deficiencies, or even reviewed, the more than
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13 68,000 Incognito-related documents Google already produced in this action. Plaintiffs now change

14 course and claim that Incognito should not be within the scope of this case. That request is

15 untenable, especially since Incognito is a concept Plaintiffs thrust into the case themselves. For the

16 reasons below, Plaintiffs’ requested relief should be denied. 1

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            First, Plaintiffs’ claim that Incognito is outside of the scope is belied by the fact that
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     Plaintiffs themselves have injected Incognito into this case. The Court need look no further than
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     Plaintiffs’ proposed class definition, which turns on whether or not a user is browsing in Incognito
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21 mode. See Pls’ Mot. for Class Certification, Dkt. 339-4, at 1 (“Browsing using the Chrome browser

22 in Incognito mode is excluded from the Class.”). One of Plaintiffs’ experts, Dr. Zubair Shafiq,

23 devotes an entire section of his report in support of class certification to whether Google can identify

24
     users browsing Chrome in Incognito mode. See Dkt. 339-20 at 25. Google is permitted to probe,
25

26
     1
27  Unrelated as Plaintiffs’ request is to any particular dispute, it effectively seeks an advisory opinion
   regarding the scope of the case, or an early motion in limine. Neither is appropriate at this stage.
28 Worse, in violation of the Court’s order (Dkt. 404 at 2), Plaintiffs did not even seek to meet and
   confer with Google prior to their filing. Plaintiffs’ motion should be denied on these bases alone.
                                                         1                 Case No. 5:20-cv-5146-LHK-SVK
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 1 among other things, whether Plaintiffs’ proposed class is ascertainable and if their proposed

 2 representatives are typical of the class. 2

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            Second, Plaintiffs allege that they understood Google’s disclosures to mean that merely
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     browsing in Chrome Basic, or Signed in without Sync enabled, would prevent Google from
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     obtaining any information about their browsing and essentially make them invisible on the web. In
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     a related case, Brown v. Google, the allegation is that it is common knowledge that Google receives
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 8 information about users’ browsing, and that users need to use Incognito mode to prevent that from

 9 happening. Google has every right to explore how the Calhoun Plaintiffs believe Incognito (and

10 Guest) mode works, and what it is used for. Plaintiffs’ strategic choices—e.g., to downplay the

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     obvious tension between their case and the Brown action—do not bind Google’s defenses. Indeed,
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     to bar Google from defending itself by reference to Plaintiffs’ beliefs about Incognito could
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     constitute a denial of due process.
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15          Plaintiffs’ motion fails to cite any discovery requests to which Google refused to provide

16 information on the basis that it is related to Incognito. Plaintiffs concede they chose to “refrain[]

17 from, seeking any discovery … relating to Incognito.” Mot. at 2. In any event, Google has already

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     provided the Calhoun Plaintiffs with an immense amount of discovery related to Incognito,
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     including more than 68,000 documents that hit on the term “Incognito.” 3 Dkt. 399-4. Even though
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     the Cross-Use Order allows Google to withhold documents from non-custodial sources in Brown if
21
     they are not relevant to this matter, Google has not done so. See Dkt. 263 at ¶ 2. Google has cross-
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23 produced all non-custodial documents it originally produced in Brown with the exception of data

24 related specifically to the Brown Plaintiffs, including all Incognito-related documents. See Dkt. 263

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     2
26    Although Plaintiffs allude to the existence of an order from this Court preventing discovery related
     to Incognito (Mot. at 2), no such order exists.
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     3
    The only documents related to Incognito mode that Google has produced in Brown but has not
28 produced in this case are documents from non-overlapping custodians, which Plaintiffs agreed to
   exclude from cross-use. See Plaintiffs’ Proposed Order re: Cross-Use, Dkt. 253-1.
                                                       2                  Case No. 5:20-cv-5146-LHK-SVK
                                                             GOOGLE’S BRIEF RE: INCOGNITO DISCOVERY
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 1 at ¶ 4. Plaintiffs do not claim that they have reviewed the plethora of documents that Google has

 2 produced and found them lacking in any respect.

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            Furthermore, the lone unreported case cited in support of Plaintiffs’ unorthodox request is
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     readily distinguishable, as (i) unlike the current motion, the moving party’s request in Purdue
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     involved a motion to compel; and (ii) unlike Google, the responding party there refused to produce
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     documents at issue. See CCSF v. Purdue Pharma L.P., No. 18-cv-7591-CRB-JSC, Order re Pls.
 7
     MTC Walgreens Elec. Due Diligence Records at 2, Dkt. No. 545 (N.D. Cal. May 3, 2021). To the
 8
     extent either party is attempting to use Incognito as a sword and shield, it is Plaintiffs—not Google.
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     Plaintiffs’ motion makes clear that they seek to rely on Incognito as a way to define their proposed
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     class and, at the same time, shield Google from relying on any of the documents that it has produced
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     to challenge these assertions. Plaintiffs cannot have it both ways; because both parties have explored
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     the impact that Chrome’s Incognito mode has on Plaintiffs’ claims and Google’s defenses,
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     Plaintiffs’ motion should be denied.
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     DATED: December 21, 2021                    QUINN EMANUEL URQUHART &
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